           Case 2:11-cr-00190-KJM Document 289 Filed 06/20/16 Page 1 of 4


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 5   Attorney for Defendant
     Nicholas Ramirez
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 7

 8                    IN THE UNITED STATES DISTRICT COURT

 9               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,         )   Case No. Cr.S 11-190 MCE
                                       )
12               Plaintiff,            )   STIPULATION TO CONTINUE
                                       )   STATUS
13       vs.                           )
                                       )   ORDER
14   NICHOLAS RAMIREZ,                 )
     TIFFANY BROWN                     )
15                                     )
                 Defendant             )
16                                     )

17
                                   STIPULATION
18
         Plaintiff United States of America, by and through its
19
     counsel of record, and the defendant’s herein, by and through
20
     their counsel of record, hereby stipulates as follows:
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22       By previous order, this matter was set for status on June

23   23, 2016.

24       By this stipulation, defendants now move to continue the

25   status conference until August 18, 2016 and to exclude time




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            Case 2:11-cr-00190-KJM Document 289 Filed 06/20/16 Page 2 of 4


 1   between June 23, 2016, and August 18, 2016 under Local Code T4.
 2   Plaintiff does not oppose this request.
 3
           Counsel for defendants desire additional time to review
 4
     documents and to consult with their clients in efforts to
 5
     resolve this case.
 6
           The government does not object to the continuance.
 7
           Based on the above-stated findings, the ends of justice
 8
     served by continuing the case as requested outweigh the interest
 9
     of the public and the defendant in a trial within the original
10
     date prescribed by the Speedy Trial Act.
11

12
           For the purpose of computing time under the Speedy Trial

13   Act, 18 U.S.C. § 3161, et seq., within which trial must

14   commence, the time period of June 23, 2016 to August 18, 2016,

15   inclusive, is deemed excludable pursuant to 18 U.S.C.§

16   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
17   continuance granted by the Court at defendant’s request on the
18
     basis of the Court's finding that the ends of justice served by
19
     taking such action outweigh the best interest of the public and
20
     the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h).
21
     ///
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     ///
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     ///
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     ///
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           Case 2:11-cr-00190-KJM Document 289 Filed 06/20/16 Page 3 of 4


 1       Nothing in this stipulation and order shall preclude a
 2   finding that other provisions of the Speedy Trial Act dictate
 3
     that additional time periods are excludable from the period
 4
     within which a trial must commence.
 5

 6
     DATED: June 14, 2016                     Respectfully submitted
 7

 8
                                              /S/MICHAEL B. BIGELOW
 9                                            Michael B. Bigelow
                                              Attorney for Nicholas Ramirez
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              Case 2:11-cr-00190-KJM Document 289 Filed 06/20/16 Page 4 of 4


 1
     IT IS SO STIPULATED
 2

 3
     /S/ JASON HITT
     Jason Hitt, Esq.,                               Dated: June 10, 2016
 4
     Assistant United States Attorney
 5   Attorney for Plaintiff

 6

 7   /S/MICHAEL B. BIGELOW                           Dated: June 10, 2016
     Michael B. Bigelow
 8   Attorney for Defendant
     Nicholas Ramirez
 9
     /s/Dina Santos
10   Dina Santos,                                    Dated: June 10, 2016
     Attorney for
11
     Tiffany Brown
12

13
                                           ORDER
14
         IT IS SO ORDERED.
15
     Dated:     June 17, 2016
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